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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )              8:06CR133
                       Plaintiff,                  )
                                                   )
       vs.                                         )              ORDER
                                                   )
HARVEY LEE FREEMONT, JR. and                       )
JOHN DAVIDSON,                                     )
                                                   )
                       Defendants.                 )


       This matter is before the court on the motion to continue by defendant John
Davidson (Davidson) (Filing No. 37). Davidson seeks a continuance of the trial of this
matter which is scheduled for August 14, 2006. Upon consideration, the motion will be
granted, and trial will be continued as to both defendants.


       IT IS ORDERED:
       1.     Davidson's motion to continue trial (Filing No. 37) is granted.
       2.     Trial of this matter for both defendants is re-scheduled for September 11,
2006, before Chief Judge Joseph F. Bataillon and a jury. The ends of justice have been
served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,
the time between July 21, 2006 and September 11, 2006, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the
reason that defendants' counsel require additional time to adequately prepare the case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 21st day of July, 2006.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
